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PROPOSED COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
Senior Care Centers, LLC, et al.,1                     §        Case No. 18-33967 (BJH)
                                                       §
                          Debtors.                     §        (Joint Administration Requested)
                                                       §

             MOTION OF DEBTORS FOR INTERIM AND FINAL ORDERS
      (I) AUTHORIZING CONTINUED USE OF EXISTING CASH MANAGEMENT
       SYSTEM, INCLUDING MAINTENANCE OF EXISTING BANK ACCOUNTS,
    CHECKS, AND BUSINESS FORMS, AND (II) AUTHORIZING CONTINUATION OF
                       EXISTING DEPOSIT PRACTICES

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move (the

“Motion”) for entry of interim and final orders substantially in the forms annexed hereto as

Exhibit B and Exhibit C (the “Interim Order” and the “Final Order”) respectively, pursuant to

sections 105(a), 345, 363, and 364 of title 11 of the United States Code (the “Bankruptcy

Code”), and Rule 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), (i) authorizing, but not directing, the Debtors to continue to maintain and use their


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   A list of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, is attached hereto as Exhibit A. The Debtors’ mailing address is 600 North Pearl Street, Suite
1100, Dallas, Texas 75201.


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existing cash management system, including maintenance of existing bank accounts, checks, and

business forms; (ii) granting the Debtors a waiver of certain bank account and related

requirements of the Office of the United States Trustee for the Northern District of Texas (the

“U.S. Trustee”) to the extent that such requirements are inconsistent with the Debtors’ practices

under their existing cash management system or other actions described herein; and (iii)

authorizing, but not directing, the Debtors to continue to maintain and use their existing deposit

practices notwithstanding the provisions of Bankruptcy Code section 345(b). In support of the

Motion, the Debtors rely upon the Declaration of Kevin O'Halloran, Chief Restructuring Officer

of Senior Care Centers, LLC, in Support of Chapter 11 Petitions and First Day Pleadings, filed

with the Court concurrently herewith (the “First Day Declaration”). In further support of the

Motion, the Debtors, by and through their undersigned counsel, respectfully represent as follows:

                                JURISDICTION AND VENUE

         1.    This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). The Debtors consent to entry of a final

order under Article III of the United States Constitution.

         2.    Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

         3.    The statutory predicates for the relief requested herein are Bankruptcy Code

sections 105(a), 345, 363, and 364, and Bankruptcy Rule 6003.

                                        BACKGROUND

A.       General Background

         4.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”).



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         5.    The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases is set forth in the First Day Declaration and incorporated herein by reference.

         6.    The Debtors continue to operate their businesses and manage their businesses as

debtors in possession pursuant to Bankruptcy Code sections 1107 and 1108.

         7.    No trustee or examiner, or official committee of unsecured creditors has been

appointed in the Chapter 11 Cases.

         8.    In the ordinary course of business, the Debtors maintain approximately 328 bank

accounts (the “Debtors Bank Accounts”) and a cash management system that utilizes different

mechanics across (a) facility-level bank accounts, (b) corporate-level bank accounts, and (c)

management-entity level bank accounts (the “Cash Management System”). The Cash

Management System is integral to the operation and administration of the Debtors’ businesses.

The Cash Management System allows the Debtors to monitor and control all of the Debtors’

cash receipts and disbursements, identify the cash requirements of the Debtors, and transfer cash

as needed to respond to the cash requirements of the Debtors.

         9.    A diagram reflecting the flow of funds through the Debtor Bank Accounts in the

Cash Management System is annexed hereto as Attachment 2. The amount of funds that flow

through the Cash Management System on a monthly basis fluctuates greatly depending on,

among other things, new client deposits, census level, and depositing of checks in transit.

B.       The Debtors’ Facility Level Bank Accounts and Cash Management

         10.   There are 318 facility-level bank accounts across 106 facilities. Each facility

maintains three banks accounts, all at CIBC, for (a) government receivables (“Facility

Government Receivables”), (b) private pay and insurance receivables (“Facility Non-

Government Receivables”), and (c) facility payables (“Facility Disbursements”).

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          11.      Receivables are deposited directly into the facility bank account either by check

or Automated Clearing House (“ACH”) transfers. Government receivables and insurance

receivables are primarily paid by ACH. All private pay checks received at the facility are

deposited into the Facility Non-Government Receivable account. If the private pay check is sent

to the corporate office, then corporate personnel deposit the checks received into the Facility

Non- Government Receivable account.

          12.      Vendor check runs occur on a daily basis and are initiated at the corporate office.

The checks are issued at the facility level and the bank account is funded once the check clears

the bank. The Facility Disbursement accounts get funded daily to pay for all cleared checks. Wire

payments are made from the corporate office to large vendors on a discretionary basis and costs

are allocated to the facilities through journal entries on a monthly basis. No cash is transferred

from the facilities to corporate for the large vendor wires.

          13.      The facilities do not maintain any cash balances including petty cash, as all

accounts are swept on a daily basis. All facility employee expenses are submitted to the corporate

office and paid through expense checks out of the Facility Disbursement accounts. Mileage

expense reports are paid through direct deposit into the employees bank accounts out of the

Facility Disbursement accounts. Certain employees are issued purchase cards (“P-cards”) with

pre-set limits to pay for expenses. The P-cards are issued by Elan Financial Services, and the

approximate monthly spend on account of the P-cards is $220,000. The P-cards are paid in full

by the Corporate Disbursement account (defined below) on a monthly basis.

C.        The Debtors’ Corporate Level Bank Accounts and Cash Management2

          14.      There are four (4) corporate level bank accounts, all with CIBC, for (a) HUD

facility receivables Concentration (“HUD Facility Concentration”), (b) Non-HUD facility
2
    The Debtors’ corporate level bank accounts are in the name of Senior Care Centers, LLC

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receivable account (“Non-HUD Concentration Account”), (c) Gamble Hospice Concentration

Account (“Hospice Concentration Account”), and (d) corporate disbursements (“Corporate

Disbursement Account”).

         15.   Cash is swept for both government receivable concentration accounts and non-

government receivable concentration accounts, on a daily basis, to the applicable concentration

account. The three (3) corporate receivable accounts are used to fund the Corporate

Disbursement Account on a daily basis as checks clear. The Corporate Disbursement Account is

only funded when checks clear the bank and otherwise maintains a zero balance on a daily basis.

All checks are cut and sent on a daily basis, for all bank accounts including Facility

Disbursement accounts, from the corporate office.

         16.   Payroll is funded from the Corporate Disbursement Account to each facility’s

account, which then pays ADP. ADP then issues the check directly to the employees. Payroll

funding occurs on the 9th and 24th of every month to ADP, the payroll provider. Payroll is funded

to employees twice a month on the 10th and 25th either through direct deposit or check from ADP.

The 401(k) employee contribution withholding is funded twice a month from the Corporate

Disbursement Account. Employee medical and dental benefits are self-insured and claims are

paid on a daily basis to the insurance providers from the Health Benefits Trust Disbursement

Account. Elective benefits are paid on a monthly basis to ADP insurance agency.

         17.   The primary vendor with automatic funding access is CIBC Bank USA (“CIBC”)

for bank debt interest payments. These amounts are automatically drawn from the Corporate

Disbursement Account. Most other vendor payments are manually issued through checks, ACH,

and wire transfers on a daily basis.




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D.       The Debtors’ Management Entity Bank Accounts and Cash Management3

         18.    There are an additional four (4) bank accounts, all with CIBC, two for Senior

Case Center Management LLC and two for Senior Rehab Solutions LLC (the “Management

Entities”). Each Management Entity maintains a receivable account and a disbursement account.

These accounts collect receivables and are used to pay account payables. The accounts are swept

on a daily basis to the Non-HUD Concentration Account and do not maintain a balance.

         19.    As the foregoing overview reflects, the Cash Management System is specifically

designed for administering the Debtors' businesses, and cannot be altered without significant

disruption to the Debtors' business operations and material distraction to the Debtors'

management. The Debtors, therefore, request that the Court authorize them to continue using the

existing Cash Management System, and to transfer funds into, out of, and through the Cash

Management System as the Debtors did prepetition including, without limitation, any prepetition

cash management agreements, bank account terms and conditions, or treasury services

agreements (collectively, the "Bank Account Agreements").

                                        RELIEF REQUESTED

         20.    By this Motion, the Debtors seek entry of the Interim and Final Orders,

substantially in the forms of Exhibit B and Exhibit C attached hereto, (a) authorizing, but not

directing, the Debtors to continue to maintain and use their existing cash management system,

including maintenance of existing bank accounts, checks, and business forms; (b) granting the

Debtors a waiver of certain bank account and related requirements of the U.S. Trustee to the

extent that such requirements are inconsistent with the Debtors’ practices under their existing

cash management system or other actions described herein; and (c) authorizing, but not directing,


3
 The Debtors’ management-entity level bank accounts relate to the entities Senior Care Center Management, LLC
and Senior Rehab Solutions, LLC.

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the Debtors to continue to maintain and use their existing deposit practices notwithstanding the

provisions of Bankruptcy Code section 345(b). The Debtors also request that the Court authorize

and direct all banks with which the Debtors maintain accounts to continue to maintain, service,

and administer such accounts and authorize third-party payroll and benefits administrators and

providers to prepare and issue checks on behalf of the Debtors.

                                      BASIS FOR RELIEF

A.       The Debtors Should Be Authorized to Continue to Use Their Existing Cash
         Management System and the Debtor Bank Accounts

         21.   The Cash Management System is an ordinary course, customary, and essential

business practice, the continued use of which is essential to the Debtors’ business operations

during the Chapter 11 Cases and their goal of maximizing value for the benefit of all parties in

interest. To require the Debtors to adopt a new cash management system at this early and critical

stage would be expensive, impose needless administrative burdens, and cause undue disruption.

Any disruption in the collection of funds as currently implemented would adversely (and perhaps

irreparably) affect the Debtors’ ability to maximize estate value. Moreover, such a disruption

would be wholly unnecessary because the Cash Management System provides a valuable and

efficient means for the Debtors to address their cash management requirements and, to the best

of the Debtors’ knowledge, the majority of the Debtor Bank Accounts are held at financially

stable institutions insured in the United States by the Federal Deposit Insurance Corporation

(“FDIC”). For the aforementioned reasons, maintaining the existing Cash Management System

without disruption is in the best interests of the Debtors, their estates, and all interested parties.

Accordingly, the Debtors request that they be allowed to maintain and continue to use the Cash

Management System, including maintenance of their existing Debtor Bank Accounts.




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         22.   As part of the relief requested herein, and to ensure that their transition into

chapter 11 is as smooth as possible, the Debtors seek an order authorizing the Debtors to (a)

maintain and continue to use the Debtor Bank Accounts, including but not limited to those

accounts listed on Attachment 1 hereto, in the same manner and with the same account numbers,

styles, and document forms as are currently employed; (b) deposit funds in and withdraw funds

from the Debtor Bank Accounts in the ordinary course by all usual means, including checks,

wire transfers, drafts, and electronic fund transfers or other items presented, issued, or drawn on

the Debtor Bank Accounts; (c) pay ordinary course bank fees in connection with the Debtor

Bank Accounts, including prepetition fees; (d) perform their obligations under the documents

and agreements governing the Debtor Bank Accounts; and (e) for all purposes, treat the Debtor

Bank Accounts as accounts of the Debtors in their capacity as debtors-in-possession.

         23.   If the relief requested herein is granted, the Debtors will implement appropriate

mechanisms to ensure that no payments will be made on any debts incurred by the Debtors prior

to the Petition Date, other than those authorized by this Court. To prevent the possible

inadvertent payment of prepetition claims against the Debtors, except those otherwise authorized

by the Court, the Debtors will work closely with the banks at which the Debtor Bank Accounts

are maintained (each a “Bank” and, collectively, the “Banks”) to ensure appropriate procedures

are in place to prevent checks issued by the Debtors prepetition from being honored absent this

Court’s approval and to ensure that no third-party with automatic debit capabilities is able to

debit amounts attributable to the Debtors’ prepetition obligations.

         24.   The Debtors request that no Bank that implements such handling procedures and

then honors a prepetition check or other item drawn on any account that is the subject of this

Motion (a) at the direction of the Debtors to honor such prepetition check or item, (b) in a good



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faith belief that the Court has authorized such prepetition check or item to be honored, or (c) as a

result of a good faith error made despite implementation of reasonable item handling procedures,

be deemed to be liable to the Debtors or to their estates on account of such prepetition check or

other item being honored postpetition. The Debtors believe that such flexibility accorded the

Banks is necessary to induce the Banks to continue providing cash management services to the

Debtors.

         25.   The Debtors further request that the Banks be authorized to deduct from the

appropriate Debtor Bank Accounts the Banks’ fees and expenses (the “Bank Fees and

Expenses”), and that no liens on any Debtor Bank Accounts take priority over the Bank Fees and

Expenses, except as set forth in any deposit agreements between the Debtors and the Banks.

         26.   Additionally, in each instance in which the Debtors hold one or more accounts at

a bank that is a party to a Uniform Depository Agreement with the U.S. Trustee, within fifteen

(15) days of the date of entry of an interim or final order granting this Motion, the Debtors will

(a) contact such bank, (b) provide such bank with the Debtors’ employer identification numbers,

and (c) identify each of their accounts held at such bank as held by a debtor-in-possession in a

bankruptcy case. If the Debtors hold one or more accounts at a bank that is not a party to a

Uniform Depository Agreement with the U.S. Trustee, the Debtors will use their good faith

efforts to cause such bank to execute a Uniform Depository Agreement in a form prescribed by

the Office of the U.S. Trustee within forty-five (45) days of the date of entry of an interim or

final order granting this Motion.

         27.   In the interest of maintaining the continued and efficient operation of the Cash

Management System during the pendency of the Chapter 11 Cases, the Debtors request that all

Banks be authorized and directed to continue to administer, service, and maintain the Debtor



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Bank Accounts as such accounts were administered, serviced, and maintained prepetition,

without interruption and in the ordinary course (including making deductions for Bank Fees and

Expenses), and, when requested by the Debtors in their sole discretion, to honor any and all

checks, drafts, wires, electronic fund transfers, or other items presented, issued, or drawn on the

Debtor Bank Accounts on account of a claim against the Debtors arising on or after the Petition

Date.

         28.   The Debtors further request that they be authorized to implement such reasonable

changes to the Cash Management System as the Debtors may deem necessary or appropriate

(subject to the documents governing the CIBC credit facility), including, without limitation,

closing any of the Debtor Bank Accounts and opening any additional bank accounts following

the Petition Date (the “New Accounts”) wherever the Debtors deem that such accounts are

needed or appropriate and whether or not the banks in which the accounts are opened are

designated approved depositories in the Northern District of Texas. Notwithstanding the

foregoing, any New Accounts that the Debtors open will be at banks that have executed a

Uniform Depository Agreement with the U.S. Trustee, or at such banks that are willing to

immediately execute such an agreement, and any New Account that the Debtors open in the

United States will be (a) at one of the existing Banks or with a bank that is organized under the

laws of the United States of America or any state therein and that is insured by the FDIC, and (b)

designated a “Debtor-in-Possession” account by the relevant bank. The Debtors request that the

relief sought by this Motion extend to any New Accounts and that any order approving this

Motion provide that the New Accounts are deemed to be Debtor Bank Accounts that are

similarly subject to the rights, obligations, and relief granted in such order. The Debtors will

provide the U.S. Trustee with prompt notice of any Debtor Bank Accounts that they close or



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New Accounts that they open. In furtherance of the foregoing, the Debtors also request that the

relevant banks be authorized to honor the Debtors’ requests to open or close (as the case may be)

such Debtor Bank Account(s) or New Account(s).

B.       The Debtors Should Be Granted Authority to Continue to Use Existing Checks and
         Business Forms

         29.     To minimize expenses to their estates, the Debtors seek authorization to continue

using all checks substantially in the forms existing immediately prior to the Petition Date,

without reference to the Debtors’ status as a debtor in possession; provided, however, that in the

event the Debtors generate new checks during the pendency of the Chapter 11 Cases other than

from their existing stock of checks, such checks will include a legend referring to the Debtor as a

“Debtor in Possession.” The Debtors also seek authority to use all correspondence and other

business forms (including, without limitation, letterhead, purchase orders, and invoices) without

reference to the Debtors’ status as a debtor in possession.4

         30.     Changing the Debtors’ existing checks, correspondence, and other business forms

would be expensive, unnecessary, and burdensome to the Debtors’ estates. Further, such changes

would disrupt the Debtors’ business operations and would not confer any benefit upon parties

that deal with the Debtors. For these reasons, the Debtors request that they be authorized to use

their existing check stock, correspondence, and other business forms without being required to

place the label “Debtor-in-Possession” on any of the foregoing.




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  Although the operating guidelines established for a debtor in possession by the U.S. Trustee would require the
Debtors to obtain and use new checks bearing the “Debtor in Possession” designation, the Debtors do not believe
that such guidelines impose any limitation on the Debtors’ other correspondence and business forms. Nevertheless,
out of an abundance of caution, the Debtors seek explicit authority to continue using their existing correspondence
and business forms without reference to the Debtors’ status as a debtor in possession.

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 C.       The Debtors Should Be Granted a Waiver of Certain Requirements of the U.S.
          Trustee

          31.   The Debtors further request, pursuant to Bankruptcy Code sections 105(a) and

 363, that this Court grant a waiver of certain bank account and related requirements of the U.S.

 Trustee to the extent that such requirements are inconsistent with (a) the Debtors’ existing

 practices under the Cash Management System or (b) any action taken by the Debtors in

 accordance with any order granting this Motion or any other order entered in the Chapter 11

 Cases. To supervise the administration of chapter 11 cases, the U.S. Trustee has established

 certain operating guidelines for debtors in possession. These requirements (the “UST

 Requirements”) require chapter 11 debtors to, among other things: (a) close all existing bank

 accounts and open new debtor in possession bank accounts; (b) establish one debtor-in-

 possession account for all estate monies required for the payment of taxes, including payroll

 taxes; (c) maintain a separate debtor in possession account for cash collateral; and (d) obtain

 checks for all debtor in possession accounts that bear (i) the designation “Debtor-In-Possession,”

 (ii) the bankruptcy case number, and (iii) the type of account. The UST Requirements are

 designed to clearly demarcate prepetition transactions and operations from postpetition

 transactions and operations, and to prevent the inadvertent postpetition payment of prepetition

 claims. As set forth above, the Debtors submit that (a) they are able to work with the Banks to

 ensure that this goal of separation between the prepetition and postpetition periods is observed

 and (b) enforcement of certain of these UST Requirements would disrupt the Debtors’ operations

 and impose a financial burden on the Debtors’ estates.

          32.   It would be onerous for the Debtors to meet the UST Requirements to close all

 existing bank accounts and open a new debtor in possession account. Indeed, this requirement

 would unnecessarily inconvenience the Debtors. Further, it would be unnecessary and inefficient


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to require the Debtors to abide by the UST Requirements to establish specific debtor in

possession accounts for tax payments (including payroll taxes) and to deposit to such accounts

sufficient funds to pay any tax liability (when incurred) associated with the Debtors’ payroll and

other tax obligations. The Debtors can pay their tax obligations most efficiently from their

existing Debtor Bank Accounts in accordance with their existing practices, and the U.S. Trustee

will have wide latitude to monitor the flow of funds into and out of such accounts. The creation

of new debtor in possession accounts designated solely for tax obligations would be

unnecessarily burdensome.

         33.   In addition, it is unnecessary to require the Debtors to abide by the UST

Requirement to establish specific debtor in possession accounts for cash collateral. As set forth

in the Debtors’ cash collateral motion, the Debtors have provided significant safeguards to

ensure that parties with security interests in the Debtors’ cash collateral are adequately protected

and that such parties have been provided with notice of the proposed use of such cash collateral.

         34.   In larger chapter 11 cases, courts have routinely waived the requirements of the

UST Requirements, recognizing that they are often impractical and potentially detrimental to a

debtor’s postpetition business operations and restructuring efforts. Southmark Corp. v. Grosz (In

re Southmark Corp.), 49 F.3d 1111, 1114 (5th Cir. 1995) (finding that the cash management

system allows the debtor “to administer more efficiently and effectively its financial operations

and assets”); Official Comm. of Unsecured Creditors of the Columbia Gas Transmission Corp. v.

Columbia Gas Sys. Inc. (In re Columbia Gas Sys., Inc.), 997 F.2d 1039, 1061 (3rd Cir. 1993)

(finding that a requirement to maintain all accounts separately “would be a huge administrative

burden and economically inefficient”); see also In re Taco Bueno Restaurants, Inc., Case No. 18-

33678 (SGJ) (Bankr. N.D. Tex. Nov. 7, 2018) [Doc. No. 44]; In re Think Finance, LLC, Case



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 No. 17-33964 (HDH) (Bankr. N.D. Tex. Nov. 21, 2017) [Doc. No. 136]; In re CHC Group Ltd.,

 Case No. 16-31854 (BJH) (Bankr. N.D. Tex. June 9, 2016) [Doc. No. 288]; In re Energy &

 Exploration Partners, Inc., Case No. 15-44931 (RFN) (Bankr. N.D. Tex. Dec. 10, 2015) [Doc.

 No. 427]; In re ALCO Stores, Inc., Case No. 14-34941 (SGJ) (Bankr. N.D. Tex. Oct. 16, 2014)

 [Doc. No. 70]; In re Reddy Ice Holdings, Inc., Case No. 12-32349 (SGJ) (Bankr. N.D. Tex. Apr.

 19, 2012) [Doc. No. 110]; In re IDEARC Inc., Case No. 09-31828 (BJH) (Bankr. N.D. Tex. Apr.

 19, 2009) [Doc. No. 156]; In re Pilgrim Corp., et al., Case No. 08-45664 (MXM) (Bankr. N.D.

 Tex. Dec. 1, 2008) [Doc. No. 69]; In re Paragon Offshore PLC, Case No. 16-10386 (CSS)

 (Bankr. D. Del. Feb. 17, 2016) [Doc. No. 73]; In re Offshore Group Investment Limited, Case

 No. 15-12422 (BLS) (Bankr. D. Del. Dec. 4, 2015) [Doc. No. 45]. Similar authorization is

 appropriate in these Chapter 11 Cases.

 D.       The Debtors Should Be Authorized to Continue Their Deposit Practices

          35.   As part of the Cash Management System, the Debtors routinely deposit funds into

 the Debtor Bank Accounts (the “Deposit Practices”). The Debtors request (a) authorization to

 continue to deposit funds in accordance with existing practices under the Cash Management

 System, subject to any reasonable changes the Debtors may implement to the Cash Management

 System, and (ii) a waiver of the deposit requirements of Bankruptcy Code section 345(b), on an

 interim basis, to the extent that such requirements are inconsistent with the Deposit Practices. For

 the avoidance of doubt, to the extent any of the Debtor Bank Accounts may be classified as

 investment accounts, or to the extent any of the Debtors’ routine deposits into Debtor Bank

 Accounts may be regarded as investment activity, the Debtors hereby seek authorization to

 continue to deposit funds into such Debtor Bank Accounts in accordance with existing practices,

 notwithstanding the requirements of Bankruptcy Code section 345(b).



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                                  APPLICABLE AUTHORITY

 A.       The Bankruptcy Code Permits the Debtors to Continue to Use the Cash
          Management System and the Debtor Bank Accounts

          36.   Bankruptcy Code section 363(c)(1) authorizes a debtor in possession to “use

 property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C. §

 363(c)(1). The purpose of section 363(c)(1) is to provide a debtor in possession “flexibility to

 engage in ordinary transactions” required to operate its business without unneeded oversight by

 its creditors or the court. In re Roth Am., Inc., 975 F.2d 949, 952 (3d Cir. 1992) (“Section 363 is

 designed to strike [a] balance, allowing a business to continue its daily operations without

 excessive court or creditor oversight and protecting secured creditors and others from dissipation

 of the estate’s assets.”); In re Nellson Nutraceutical, Inc., 369 B.R. 787, 796 (Bankr. D. Del.

 2007). The authority granted by Bankruptcy Code section 363(c)(1) extends to a debtor in

 possession’s continued use of its customary cash management system and, thus, supports the

 relief requested. See, e.g., Charter Co. v. Prudential Ins. Co. Am. (In re Charter Co.), 778 F.2d

 617, 621 (11th Cir. 1985) (indicating that an order authorizing the debtor to employ a cash

 management system that was “usual and customary in the past” was “entirely consistent” with

 Bankruptcy Code section 363(c)(1)); Amdura Nat’l Distrib. Co. v. Amdura Corp. (In re Amdura

 Corp.), 75 F.3d 1447, 1453 (10th Cir. 1996) (included within the scope of Bankruptcy Code

 section 363(c) is a debtor’s ability to continue “routine transactions” necessitated by a debtor’s

 cash management system).

          37.   Moreover, Bankruptcy Code section 364(a) authorizes a debtor in possession to

 obtain unsecured credit and incur unsecured debt in the ordinary course of business without

 notice and a hearing. See 11 U.S.C. § 364(a). This provision further supports the relief requested,




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and provides the Debtors with the ability, to the extent necessary, to obtain unsecured credit and

incur unsecured debt in the ordinary operation of the Cash Management System.

         38.   Bankruptcy Code section 105(a) also authorizes this Court to permit the Debtors

to continue to use the Cash Management System, including maintenance of their existing Debtor

Bank Accounts. Bankruptcy Code section 105(a) vests in this Court the power to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” The continuation of the Cash Management System, including the continued use of the

Debtor Bank Accounts, is essential to the efficient administration of the Chapter 11 Cases and to

the Debtors’ efforts to maximize estate value for all parties in interest. Indeed, one court, in

another context, has recognized that a centralized cash management system “allows efficient

utilization of cash resources and recognizes the impracticalities of maintaining separate cash

accounts for the many different purposes that require cash.” In re Columbia Gas Sys., Inc., 136

B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in part and rev’d in part, 997 F.2d 1039 (3d Cir.

1993). Therefore, the relief requested is appropriate under Bankruptcy Code section 105(a).

         39.   In addition, numerous courts in other large chapter 11 cases in this district and

others have authorized debtors to continue to use their existing cash management systems. See,

e.g., In re Taco Bueno Restaurants, Inc., Case No. 18-33678 (SGJ) (Bankr. N.D. Tex. Nov. 7,

2018) [Doc. No. 44] (authorizing continued use of cash management system and business

forms); In re Think Finance, LLC, Case No. 17-33964 (HDH) (Bankr. N.D. Tex. Nov. 21, 2017)

[Doc. No. 136] (same); In re ADPT DFW Holdings LLC, Case No. 17-31432 (SGJ) (Bankr. N.D.

Tex. June 14, 2017) [Dkt. No. 324] (same); In re Erickson Incorporated, Case No. 16-34393

(HDH) (Bankr. N.D. Tex. Nov. 10, 2016) [Dkt. No. 41] (same); In re Energy & Exploration

Partners, Inc., Case No. 15-44931 (RFN) (Bankr. N.D. Tex. Feb. 25, 2016) [Dkt. No. 427]



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 (same); see also In re The Standard Register Company, Case No. 15-10541 (BLS) (Bankr. D.

 Del. Mar. 13, 2015); In re Brookstone Holdings Corp., Case No. 14-10752 (BLS) (Bankr. D.

 Del. Apr. 4, 2014); In re OnCure Holdings, Inc., Case No. 13-11540 (KG) (Bankr. D. Del. July

 24, 2013); In re Penson Worldwide, Inc., Case No. 13-10061 (PJW) (Bankr. D. Del. Jan. 15,

 2013); In re B456 Sys., Inc., Case No. 12-12859 (KJC) (Bankr. D. Del. Dec. 11, 2012); In re

 Vertis Holdings, Inc., Case No. 12-12821 (CSS) (Bankr. D. Del. Nov. 1, 2012); In re Genesis

 Health Ventures, Inc., 402 F.3d 416, 424 (3d Cir. 2005); In re Revel AC, Inc., No. 13-16253

 (JHW) (Bankr. D.N.J. March 26, 2013); In re TCI 2 Holdings, LLC, No. 09-13654 (JHW)

 (Bankr. D.N.J. Feb. 19, 2009); In re Tarragon Corp., No. 09-10555 (DHS) (Bankr. D.N.J. Jan.

 15, 2009). Indeed, bankruptcy courts have routinely permitted chapter 11 debtors to continue to

 use their existing cash management systems, generally treating requests for such relief as a

 relatively “simple matter.” See In re Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D. Ohio

 1987); see also In re Columbia Gas Sys., Inc., 136 B.R. at 934.

 B.       This Court Should Waive the UST Requirements to Permit the Debtors to Continue
          to Use the Cash Management System

          40.   The continuation of the Cash Management System, as requested in this Motion, is

 consistent with the Debtors’ authority to use property of the estate in the ordinary course of

 business pursuant to Bankruptcy Code section 363(c)(1). Accordingly, this Court should grant

 the Debtors a waiver of the UST Requirements to the extent that such requirements conflict with

 the Debtors’ existing practices under the Cash Management System or any action taken by the

 Debtors in accordance with any order granting this Motion or any other order entered in the

 Chapter 11 Cases.

          41.   Moreover, compelling the Debtors to alter their current cash management

 practices and to modify the Cash Management System to comply with the UST Requirements


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 would risk severe disruption to the Debtors’ business and jeopardize the Debtors’ ability to

 maximize value for all parties in interest. Cf. In re Gaylord Container Corp., 1993 WL 188671,

 at *3, 13 (E.D. La. 1993) (adopting the bankruptcy court’s findings of fact and conclusions of

 law, which included a finding that the banking requirements of the Office of the United States

 Trustee for the District of Louisiana “represent a substantial burden on any debtor and, in this

 case, resulted in the incurrence of extraordinary unquantifiable costs by [the debtor] associated

 with the confusion engendered by the implementation of new policies and procedures to comply

 with such rules, and due to the substantial restrictions that such rules placed on the debtor’s

 treasury functions”). This factor alone justifies the relief that the Debtors are seeking. See 11

 U.S.C. § 105(a) (“The court may issue any order, process, or judgment that is necessary or

 appropriate to carry out the provisions of this title.”).

 C.       This Court Has the Authority to Permit the Debtors to Continue Their Deposit
          Practices

          42.    Bankruptcy Code section 345(a) authorizes a debtor in possession to make

 deposits of estate money in a manner “as will yield the maximum reasonable net return on such

 money, taking into account the safety of such deposit.” 11 U.S.C. § 345(a). If a deposit is not

 “insured or guaranteed by the United States or by a department, agency, or instrumentality of the

 United States or backed by the full faith and credit of the United States,” Bankruptcy Code

 section 345(b) provides that the debtor must require that the entity with which the deposit is

 made obtain a bond in favor of the United States that is secured by the undertaking of an

 adequate corporate surety. See 11 U.S.C. § 345(b).

          43.    This Court has discretion to waive the requirements of Bankruptcy Code section

 345(b) “for cause.” 11 U.S.C. § 345(b). In In re Service Merchandise Co., Inc., the court

 indicated that the existence of “cause” should be determined based upon the totality of the


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circumstances taking account of factors such as: (a) the sophistication of the debtor’s business;

(b) the size of the debtor’s business; (c) the amount of investments involved; (d) the ratings of

the financial institutions at which the debtor’s funds are held; (e) the complexity of the case; (f)

the safeguards in place within the debtor’s own business to ensure the safety of funds; (g) the

debtor’s ability to reorganize in the face of a failure of one or more of the financial institutions;

(h) the benefit to the debtor; (i) the harm, if any, to the estate; and (j) the reasonableness of the

debtor’s request for relief from the section 345(b) requirements in light of the overall

circumstances of the case. 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999).

         44.   The Debtors respectfully request that this Court (a) authorize the Debtors to

continue to make deposits in accordance with the Deposit Practices; and (b) exercise their

discretion to waive the requirements of Bankruptcy Code section 345(b), on an interim basis, to

the extent that such requirements are inconsistent with the Deposit Practices. The Debtors submit

that the circumstances of the Chapter 11 Cases warrant such relief.

         45.   The Debtors are sophisticated entities with a Cash Management System that relies

on the Debtor Bank Accounts on a daily basis. The majority of the Debtor Bank Accounts are

held at a stable financial institution that is insured by the FDIC and, thus, the Debtors’ funds are

safe (up to applicable FDIC limits). Furthermore, in light of the regular deposits to, and sweeps

of, the various Debtor Bank Accounts and the “as needed” funding structure of the overall

system, it would be especially disruptive, unnecessary, and wasteful to require the posting of a

bond to the extent that the balances of the Debtor Bank Accounts exceed FDIC insurance limits

at a given time.




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          46.   Further, the Debtors have maintained the current Cash Management System for

 several years, during which time the Cash Management System operated successfully in

 conjunction with the Debtors’ existing prepetition credit facility.

          47.   Courts have granted requests to approve the use of deposit practices that do not

 comply strictly with Bankruptcy Code section 345(b). See, e.g., In re The Standard Register

 Company, Case No. 15-10541 (BLS) (Bankr. D. Del. Mar. 13, 2015); In re Ambient Corp., Case

 No. 14-11791 (KG) (Bankr. D. Del. Aug. 11, 2014); In re OnCure Holdings, Inc., Case No. 13-

 11540 (KG) (Bankr. D. Del. July 24, 2013); In re B456 Sys., Inc., Case No. 12-12859 (KJC)

 (Bankr. D. Del. Dec. 11, 2012); In re Graceway Pharm., LLC, Case No. 11-13036 (MFW)

 (Bankr. D. Del. Sept. 30, 2011); In re Newpage Corp., Case No. 11-12804 (KG) (Bankr. D. Del.

 Sept. 8, 2011). Accordingly, the Court should authorize the Debtors to continue to deposit funds

 in accordance with the Deposit Practices and grant a waiver of the requirements of Bankruptcy

 Code section 345(b) on an interim basis to the extent that the requirements are inconsistent with

 the Deposit Practices.

 D.       Bankruptcy Rule 6003 Has Been Satisfied and Bankruptcy Rule 6004 Should Be
          Waived

          48.   Certain isolated aspects of the relief requested herein may, if granted, be subject

 to Bankruptcy Rule 6003. Pursuant to Bankruptcy Rule 6003, a court may grant such relief if it is

 necessary to avoid immediate and irreparable harm. The Debtors submit that facts set forth

 herein demonstrate that the relief requested is necessary to avoid immediate and irreparable harm

 to the Debtors and, thus, Bankruptcy Rule 6003 has been satisfied.

          49.   Additionally, to the extent that any aspect of the relief sought herein constitutes a

 use of property under Bankruptcy Code section 363(b), the Debtors seek a waiver of the

 fourteen-day stay under Bankruptcy Rule 6004(h). As described above, the relief that the


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Debtors seek in this Motion is immediately necessary in order for the Debtors to be able to

continue to operate their businesses and preserve the value of their estates. The Debtors thus

submit that the requested waiver of the fourteen-day stay imposed by Bankruptcy Rule 6004(h)

is appropriate.

                                  CONSENT TO JURISDICTION

         50.      The Debtors consent to the entry of a final judgment or order with respect to this

Motion if it is determined that the Court would lack Article III jurisdiction to enter such final

order or judgment absent consent of the parties.

                                   RESERVATION OF RIGHTS

         51.      Nothing contained herein is intended or should be construed as an admission of

the validity of any claim against the Debtors; a waiver of the Debtors’ rights to dispute any

claim; or an approval, assumption, or rejection of any agreement, contract, or lease under

Bankruptcy Code section 365. Likewise, if this Court grants the relief sought herein, any

payment made pursuant to the Court’s order is not intended and should not be construed as an

admission as to the validity of any claim or a waiver of the Debtors’ rights to dispute such claim

subsequently.

                                              NOTICE

         52.      Notice of this Motion shall be provided to: (a) the Office of the United States

Trustee for the Northern District of Texas; (b) the Office of the Attorney General of the states in

which the Debtors operate; (c) the Debtors’ forty largest unsecured creditors on a consolidated

basis; (d) counsel to CIBC Bank USA; (e) Sabra Texas Holdings, L.P.; (f) the Internal Revenue

Service; and (g) the Department of Medicaid, Department of Health, and Division of Health

Services Regulation in each state in which the Debtors operate Facilities.



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          53.   The Debtors respectfully submit that such notice is sufficient and that no further

notice of this Motion is required.

                                     NO PRIOR REQUEST

          54.   No previous request for the relief sought herein has been made to this Court or

any other court.

          WHEREFORE, the Debtors respectfully request that the Court enter Interim and Final

orders, substantially in the forms attached hereto as Exhibit B and Exhibit C, respectively,

granting the relief requested in the Motion and such other and further relief as may be just and

proper.

Dated: December 5 , 2018                          POLSINELLI PC
       Dallas, Texas
                                                  /s/     Trey A. Monsour
                                                  Trey A. Monsour
                                                  State Bar No. 14277200
                                                  2950 N. Harwood, Suite 2100
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 397-0030
                                                  Facsimile: (214) 397-0033
                                                  tmonsour@polsinelli.com

                                                  -and-

                                                  Jeremy R. Johnson (Pro Hac Vice Pending)
                                                  600 3rd Avenue, 42nd Floor
                                                  New York, New York 10016
                                                  Telephone: (212) 684-0199
                                                  Facsimile: (212) 684-0197
                                                  jeremy.johnson@polsinelli.com

                                                  Proposed Counsel to the Debtors and Debtors
                                                  in Possession




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                                       Schedule of Debtor Bank Accounts




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  Financial Institution                 Address                     Account        Account Holder      Account Type
                                                                    Number
                                                                 (last 4 digits)

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                   2443014          Alief SCC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                     5120           Alief SCC LLC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                       Government
                                                                     5712           Alief SCC LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                               PM Management -
                                                                     1520           Allen NC LLC      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                               PM Management -         Government
                                                                     7129           Allen NC LLC           Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                               PM Management -
                                                                     2152           Allen NC LLC            Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                     2174          Vintage SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                               Whitesboro SCC
                                                                     2132               LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                               PM Management -
                                                                     1635          Babcock NC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                     3958          PM Management -         Government


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  Financial Institution                 Address                        Account         Account Holder     Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                  Babcock NC LLC          Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          8636        Babcock NC LLC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          9932        Bandera SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          5848        Bandera SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                          1937        Bandera SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          1936        Baytown SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          0746        Baytown SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                          7208        Baytown SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          5669        Beltline SCC LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          5651        Beltline SCC LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          5685        Beltline SCC LLC        Government

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  Financial Institution                 Address                        Account         Account Holder      Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                                           Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                          7043        Booker SCC, LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          8740        Booker SCC, LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          9538        Booker SCC, LLC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          2541        Bossier SCC, LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                          2133        Bossier SCC, LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          7448        Bossier SCC, LLC          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          2249        Bradford SCC, LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          8038        Bradford SCC, LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          3046        Bradford SCC, LLC        Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          5627        Brinker SCC LLC     Accounts Payable

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  Financial Institution                 Address                        Account        Account Holder      Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          5619        Brinker SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                          5643        Brinker SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Brownwood SCC
                                                                          0663             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Brownwood SCC
                                                                          0647             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Brownwood SCC           Government
                                                                          0655             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          6716        Capitol SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          7014        Capitol SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                          4113        Capitol SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Cedar Bayou SCC
                                                                          4677              LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          1424        Cedar Bayou SCC           Deposit

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  Financial Institution                 Address                        Account         Account Holder      Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Cedar Bayou SCC          Government
                                                                          7413              LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          1546         Cedar Park NC      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                          3221         Cedar Park NC           Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          5617         Cedar Park NC            Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Clear Brook SCC,         Government
                                                                          9953              LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Clear Brook SCC,
                                                                          5543              LLC                 Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Clear Brook SCC,
                                                                          7449              LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          1336        Colonial SCC, LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          6441        Colonial SCC, LLC        Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          6442        Colonial SCC, LLC         Operating

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  Financial Institution                 Address                        Account         Account Holder       Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Community SCC
                                                                          7501             LLC             Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Community SCC
                                                                          7488             LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Community SCC           Government
                                                                          7496             LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          1643         Corpus Christi      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                          5723         Corpus Christi          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          0953         Corpus Christi           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                          8327         Corpus Christi          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          7528         Corpus Christi           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          1554         Corpus Christi      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          1279        Corpus Christi SCC   Accounts Payable

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  Financial Institution                 Address                        Account         Account Holder       Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Corpus Christi SCC
                                                                          6070            LLC ALF          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Corpus Christi SCC
                                                                          1253               LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Corpus Christi SCC       Government
                                                                          1261               LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                          4952         Corsicana NC I          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          6088         Corsicana NC I      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          5422         Corsicana NC I           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          1669         Corsicana NC L      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                          5423         Corsicana NC L          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          1562         Corsicana NC I      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          1651        PM Management -      Accounts Payable

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  Financial Institution                 Address                        Account        Account Holder      Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                   Corsicana NC I

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                          6633         Corsicana NC I         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          7032         Corsicana NC I          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          2529         Corsicana NC L          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Crestwood SCC
                                                                          2580              LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Crestwood SCC
                                                                          2572              LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Crestwood SCC          Government
                                                                          5601              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          7140        Crowley SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                          7182        Crowley SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          7158        Crowley SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          9125        PM Management -    Accounts Payable

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                          Birmingham, Michigan 48009                                  Denison NC LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                          6321        Denison NC LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          8724        Denison NC LLC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Whitesboro SCC
                                                                          2124             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          2166        Vintage SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                          1225         El Paso I NC L         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          0851         El Paso I NC L          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                          9230         El Paso I NC L    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          2548        Fairpark SCC LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                          2530        Fairpark SCC LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                          2564        Fairpark SCC LLC        Government

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                          Birmingham, Michigan 48009                                                          Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9133        Fredericksburg    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           7326        Fredericksburg         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           3324        Fredericksburg          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9248        Frisco NC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           2123        Frisco NC LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           8137        Frisco NC LLC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           7345        Care Central      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           2232        Care Central           Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           1538        Care Central             Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           3058       Gamble Hospice     Accounts Payable

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  Financial Institution                 Address                        Account        Account Holder      Account Type
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                          Birmingham, Michigan 48009                                   Care Northeast

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           5144       Care Northeast          Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           9041       Care Northeast           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           5631       Care Northwest     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           3534       Care Northwest           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           2049       Care Northwest          Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           1289        Care of Cenla     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           8151        Care of Cenla          Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Gamble Hospice
                                                                           7550        Care of Cenla           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9256       Garland NC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           8637       PM Management -         Government

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  Financial Institution                 Address                        Account        Account Holder      Account Type
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                          Birmingham, Michigan 48009                                  Garland NC LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           2530       Garland NC LLC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9167        Golden Triangl    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9875        Golden Triangl         Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           3222        Golden Triangl          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9272        Golden Triangl    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           9222        Golden Triangl         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           8434        Golden Triangl          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1732        Golden Triangl    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1226        Golden Triangl          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           2031       PM Management -         Government

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  Financial Institution                 Address                        Account         Account Holder      Account Type
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                          Birmingham, Michigan 48009                                    Golden Triangl

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1839        Golden Triangl     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           3024        Golden Triangl           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           2722        Golden Triangl          Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Green Oaks SCC
                                                                           7108             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Green Oaks SCC
                                                                           7093             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Green Oaks SCC          Government
                                                                           7132             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           2190        Vintage SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Whitesboro SCC          Government
                                                                           2158             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Hearthstone SCC         Government
                                                                           1631              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1615       Park Bend SCC LLC        Government

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  Financial Institution                 Address                        Account        Account Holder      Account Type
                                                                       Number
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                          Birmingham, Michigan 48009                                                          Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Sagebrook SCC          Government
                                                                           1649             LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Stonebridge SCC         Government
                                                                           1623             LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Harbor Lakes SCC
                                                                           7190             LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Harbor Lakes SCC        Government
                                                                           7239             LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Harbor Lakes SCC
                                                                           7205             LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    MBS-Harden
                                                                           8339        Pharmacy LLC            Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    MBS-Harden
                                                                           7623        Pharmacy LLC      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    MBS-Harden
                                                                           5529        Pharmacy LLC            Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hearthstone SCC
                                                                           5790             LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           5782       Hearthstone SCC           Deposit

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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7815       Hewitt SCC LLC      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7792       Hewitt SCC LLC             Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           7807       Hewitt SCC LLC           Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2506         HG SCC LLC        Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2491         HG SCC LLC               Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           2522         HG SCC LLC             Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hill Country SCC
                                                                           9697             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hill Country SCC
                                                                           9647             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hill Country SCC         Government
                                                                           9590             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           0008       Holland Lake SCC,   Accounts Payable

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  Financial Institution                 Address                        Account         Account Holder      Account Type
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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Holland Lake SCC,
                                                                           8180              LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Holland Lake SCC,        Government
                                                                           2225              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hunters Pond SCC,
                                                                           7045              LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hunters Pond SCC,        Government
                                                                           7348              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Hunters Pond SCC,
                                                                           1180              LLC                Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Jacksonville SCC
                                                                           9689             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Jacksonville SCC
                                                                           9639             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Jacksonville SCC         Government
                                                                           9582             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           5189        Killeen I NC L     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           7329       PM Management -          Government

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  Financial Institution                 Address                        Account        Account Holder      Account Type
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                          Birmingham, Michigan 48009                                   Killeen I NC L         Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           6026        Killeen I NC L          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           4034        Killeen II NC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           2322        Killeen II NC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           6528        Killeen III NC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           2723        Killeen III NC          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1740        Killeen I NC L    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1847        Killeen II NC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1758        Killeen III NC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  La Hacienda SCC
                                                                           9510            LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           3930       La Hacienda SCC           Deposit

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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  La Hacienda SCC         Government
                                                                           0627            LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Lakepointe SCC
                                                                           2459            LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Lakepointe SCC          Government
                                                                           2483            LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Lakepointe SCC
                                                                           2467            LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1766        Lewisville NC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           3027        Lewisville NC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           6025        Lewisville NC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Marlandwood East
                                                                           8292          SCC LLC         Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Marlandwood East
                                                                           1287          SCC LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1295       Marlandwood East        Government

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                          Birmingham, Michigan 48009                                      SCC LLC              Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Marlandwood West
                                                                           8307           SCC LLC         Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Marlandwood West
                                                                           1300           SCC LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Marlandwood West         Government
                                                                           1318           SCC LLC              Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Meadow Creek SCC
                                                                           1342             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Meadow Creek SCC
                                                                           1326             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Meadow Creek SCC         Government
                                                                           1334             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           9702       Midland SCC LCC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           9655       Midland SCC LCC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           9605       Midland SCC LCC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           5847        Mill Forest Road   Accounts Payable

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                          Birmingham, Michigan 48009                                      SCC LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Mill Forest Road
                                                                           1607           SCC LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Mill Forest Road        Government
                                                                           1513           SCC LLC              Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7551       Mission SCC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7535       Mission SCC LLC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           7543       Mission SCC LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2409       Mullican SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2394       Mullican SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           2425       Mullican SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Mystic Park SCC
                                                                           1715             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           5609       Mystic Park SCC            Deposit

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  Financial Institution                 Address                        Account        Account Holder      Account Type
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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Mystic Park SCC         Government
                                                                           8932             LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1774        New Braunfels     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           8130        New Braunfels          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           8222        New Braunfels           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Normandie SCC,
                                                                           1747           LLC            Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Normandie SCC,          Government
                                                                           9442           LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Normandie SCC,
                                                                           1337           LLC                  Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Onion Creek SCC
                                                                           4082             LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Onion Creek SCC
                                                                           4066             LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           4074       Onion Creek SCC         Government

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  Financial Institution                 Address                        Account         Account Holder      Account Type
                                                                       Number
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                          Birmingham, Michigan 48009                                        LLC                Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           5732       Park Bend SCC LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           5724       Park Bend SCC LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           2231        Park Valley NC           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1863        Park Valley NC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -          Government
                                                                           6635        Park Valley NC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           0343       Pasadena SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7521       Pasadena SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           2512       Pasadena SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Pecan Tree SCC          Government
                                                                           9613             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           9710        Pecan Tree SCC     Accounts Payable

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  Financial Institution                 Address                        Account         Account Holder      Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Pecan Tree SCC
                                                                           9663             LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pecan Valley SCC,
                                                                           1409             LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pecan Valley SCC,        Government
                                                                           1134             LLC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pecan Valley SCC,
                                                                           7450             LLC                 Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1871        Pflugerville A     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           6729        Pflugerville A           Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pleasantmanor SCC
                                                                           2360              LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pleasantmanor SCC
                                                                           2352              LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Pleasantmanor SCC        Government
                                                                           2386              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1952       PM Management -     Accounts Payable

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  Financial Institution                 Address                        Account        Account Holder      Account Type
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                          Birmingham, Michigan 48009                                   Portland AL LL

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           3028        Portland AL LL          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1960        Portland NC LL    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           6323        Portland NC LL         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           8725        Portland NC LL          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Presidential SCC
                                                                           4112             LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Presidential SCC
                                                                           6620             LLC               Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Presidential SCC
                                                                           6619             LLC                Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2328       Redoak SCC LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2310       Redoak SCC LLC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           2344       Redoak SCC LLC          Government

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                          Birmingham, Michigan 48009                                                           Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           9455       Mason Health, LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           4200       Mason Health, LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           4936       Riverside SCC LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           4829       Riverside SCC LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           4937       Riverside SCC LLC        Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1978        Round Rock Al      Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           9525        Round Rock Al            Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Round Rock SCC
                                                                           1376            LLC            Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Round Rock SCC
                                                                           1350            LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1368       Round Rock SCC           Government

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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2289       Rowlett SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2271       Rowlett SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                           2302       Rowlett SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2134       Ruston SCC, LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           3036       Ruston SCC, LLC         Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           4647       Ruston SCC, LLC          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2247        RW SCC LLC        Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           2239        RW SCC LLC               Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                          Government
                                                                           2263        RW SCC LLC             Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           5813        Sagebrook SCC     Accounts Payable

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                          Birmingham, Michigan 48009                                        LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Sagebrook SCC
                                                                           5805             LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  San Angelo SCC
                                                                           9728            LCC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  San Angelo SCC
                                                                           9671            LCC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  San Angelo SCC          Government
                                                                           9621            LCC                Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           1986        San Antonio NC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -         Government
                                                                           7329        San Antonio NC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           5197         SA NC ALF        Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  PM Management -
                                                                           7852        San Antonio NC          Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Senior Rehab
                                                                           2093        Solutions LLC     Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           2085         Senior Rehab            Deposit

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                                                                       Number
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                          Birmingham, Michigan 48009                                    Solutions LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           0650       Edinburg SCC LLC       Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           0642       Edinburg SCC LLC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           0537       Edinburg SCC LLC          Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Senior Care Center
                                                                           2051          Mngmt LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Senior Care Center
                                                                           2001          Mngmt LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                            Government
                                                                           7664       SCC Socorro, LLC          Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           4655       SCC Socorro, LLC       Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7185       SCC Socorro, LLC            Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Senior Care Centers,
                                                                           2043               LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1535       Senior Care Centers,    Concentration

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                          Birmingham, Michigan 48009                                         LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Senior Care Centers,
                                                                           1494               LLC             Concentration
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                     SRS North
                                                                           5444         LouisianaLLC         Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Shreveport SCC,
                                                                           6043             LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Shreveport SCC,
                                                                           7044             LLC              Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Shreveport SCC,
                                                                           7236             LLC                 Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   South Oaks SCC
                                                                           8933             LLC              Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   South Oaks SCC
                                                                           0109             LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   South Oaks SCC           Government
                                                                           6622             LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    Springlake ALF
                                                                           1133           SCC, LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           8239         Springlake ALF       Accounts Payable

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  Financial Institution                 Address                        Account         Account Holder       Account Type
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                          Birmingham, Michigan 48009                                      SCC, LLC

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Springlake SCC,
                                                                           4648              LLC                Government
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Springlake SCC,
                                                                           2135              LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Springlake SCC,
                                                                           1338              LLC                 Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7051         Stallings Court    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           7043         Stallings Court           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                            Government
                                                                           7085         Stallings Court         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Stonebridge SCC
                                                                           5766              LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Stonebridge SCC
                                                                           5758              LLC                  Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           5869       Stonegate SCC, LLC   Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           4848       Stonegate SCC, LLC          Deposit

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  Financial Institution                 Address                        Account         Account Holder       Account Type
                                                                       Number
                                                                    (last 4 digits)

                          Birmingham, Michigan 48009

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           1128       Stonegate SCC, LLC       Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Summer Regency
                                                                           8315           SCC LLC          Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Summer Regency
                                                                           1384           SCC LLC                Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Summer Regency          Government
                                                                           1392           SCC LLC              Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Valley Grande SCC,
                                                                           9443              LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Valley Grande SCC,
                                                                           5632              LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Valley Grande SCC,       Government
                                                                           8146              LLC               Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    West Oaks SCC
                                                                           6621              LLC           Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                    West Oaks SCC
                                                                           7844              LLC                 Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           2213         West Oaks SCC          Government

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  Financial Institution                 Address                        Account         Account Holder        Account Type
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                          Birmingham, Michigan 48009                                         LLC                Receivables

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Western Hills SCC
                                                                           8323             LLC             Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Western Hills SCC
                                                                           1415             LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Western Hills SCC         Government
                                                                           1423             LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Weston Inn SCC
                                                                           1449             LLC             Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Weston Inn SCC
                                                                           1431             LLC                   Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                   Weston Inn SCC           Government
                                                                           1407             LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Westover Hills SCC,
                                                                           9042             LLC             Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Westover Hills SCC,       Government
                                                                           0653             LLC                 Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                  Westover Hills SCC,
                                                                           3539             LLC                  Operating
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                                                                           1473       Windcrest SCC LLC     Accounts Payable

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  Financial Institution                 Address                        Account         Account Holder      Account Type
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                          Birmingham, Michigan 48009

CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           1457       Windcrest SCC LLC          Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           1465       Windcrest SCC LLC        Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           9978       Windmill SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           5713       Windmill SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           4022       Windmill SCC LLC         Receivables
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           1504       Wurzbach SCC LLC    Accounts Payable
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009
                                                                           1481       Wurzbach SCC LLC           Deposit
CIBC Bank USA             34901 Woodward Avenue, Suite 200
                          Birmingham, Michigan 48009                                                           Government
                                                                           1499       Wurzbach SCC LLC         Receivables




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                                      Diagram of Cash Management System




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                                       Exhibit A

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#      Debtor Name                                           Case No.          EIN
1.     Alief SCC LLC                                         18-33987          0523
2.     Bandera SCC LLC                                       18-33989          0617
3.     Baytown SCC LLC                                       18-33992          0778
4.     Beltline SCC LLC                                      18-33996          7264
5.     Booker SCC LLC                                        18-33999          0967
6.     Bossier SCC LLC                                       18-34003          2017
7.     Bradford SCC LLC                                      18-34004          9535
8.     Brinker SCC LLC                                       18-34005          7304
9.     Brownwood SCC LLC                                     18-33968          0677
10.    Capitol SCC LLC                                       18-34006          1750
11.    CapWest-Texas LLC                                     18-34008          4897
12.    Cedar Bayou SCC LLC                                   18-34010          8889
13.    Clear Brook SCC LLC                                   18-34012          1877
14.    Colonial SCC LLC                                      18-34014          4385
15.    Community SCC LLC                                     18-33969          7951
16.    Corpus Christi SCC LLC                                18-34016          9807
17.    Crestwood SCC LLC                                     18-34017          7349
18.    Crowley SCC LLC                                       18-33970          6697
19.    CTLTC Real Estate, LLC                                18-34018          0202
20.    Fairpark SCC LLC                                      18-34020          7381
21.    Gamble Hospice Care Central LLC                       18-34022          6688
22.    Gamble Hospice Care Northeast LLC                     18-34025          6661
23.    Gamble Hospice Care Northwest LLC                     18-34027          2044
24.    Gamble Hospice Care of Cenla LLC                      18-34029          4510
25.    Green Oaks SCC LLC                                    18-33971          7218
26.    Harbor Lakes SCC LLC                                  18-33972          7299
27.    Harden HUD Holdco LLC                                 18-34032          1502
28.    Harden Non-HUD Holdco LLC                             18-34035          3391
29.    Harden Pharmacy LLC                                   18-34036          1995
30.    Hearthstone SCC LLC                                   18-34037          9154
31.    Hewitt SCC LLC                                        18-33973          7237
32.    HG SCC LLC                                            18-34040          7415
33.    Hill Country SCC LLC                                  18-34043          4199
34.    Holland SCC LLC                                       18-33974          1427
35.    Hunters Pond SCC LLC                                  18-34045          2886
36.    Jacksonville SCC LLC                                  18-34046          4216
37.    La Hacienda SCC LLC                                   18-34049          1074
38.    Lakepointe SCC LLC                                    18-34050          7457
39.    Major Timbers LLC                                     18-34052          7477
40.    Marlandwood East SCC LLC                              18-34054          1871


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#      Debtor Name                                             Case No.          EIN
41.    Marlandwood West SCC LLC                                18-34058          2192
42.    Meadow Creek SCC LLC                                    18-34064          9278
43.    Midland SCC LLC                                         18-34065          4231
44.    Mill Forest Road SCC LLC                                18-34066          5137
45.    Mission SCC LLC                                         18-33975          8086
46.    Mullican SCC LLC                                        18-34067          7499
47.    Mystic Park SCC LLC                                     18-34068          1898
48.    Normandie SCC LLC                                       18-34069          1542
49.    Onion Creek SCC LLC                                     18-34070          7425
50.    Park Bend SCC LLC                                       18-34071          9410
51.    Pasadena SCC LLC                                        18-34072          1694
52.    Pecan Tree SCC LLC                                      18-34073          4241
53.    Pecan Valley SCC LLC                                    18-34074          9585
54.    Pleasantmanor SCC LLC                                   18-34075          7536
55.    PM Management - Allen NC LLC                            18-34076          4961
56.    PM Management - Babcock NC LLC                          18-34077          7829
57.    PM Management - Cedar Park NC LLC                       18-34078          1050
58.    PM Management - Corpus Christi NC II LLC                18-34079          5231
59.    PM Management - Corpus Christi NC III LLC               18-34080          5129
60.    PM Management - Corsicana NC II LLC                     18-34081          9281
61.    PM Management - Corsicana NC III LLC                    18-34082          9353
62.    PM Management - Corsicana NC LLC                        18-34083          1333
63.    PM Management - Denison NC LLC                          18-34084          5022
64.    PM Management - El Paso I NC LLC                        18-34085          2965
65.    PM Management - Fredericksburg NC LLC                   18-34086          0599
66.    PM Management - Frisco NC LLC                           18-34087          5082
67.    PM Management - Garland NC LLC                          18-33979          5137
68.    PM Management - Golden Triangle NC I LLC                18-33980          9478
69.    PM Management - Golden Triangle NC II LLC               18-33981          9536
70.    PM Management - Golden Triangle NC III LLC              18-33982          9597
71.    PM Management - Golden Triangle NC IV LLC               18-33983          9654
72.    PM Management - Killeen I NC LLC                        18-33984          3105
73.    PM Management - Killeen II NC LLC                       18-33985          3179
74.    PM Management - Killeen III NC LLC                      18-33986          3245
75.    PM Management - Lewisville NC LLC                       18-33988          5296
76.    PM Management - New Braunfels NC LLC                    18-33990          6293
77.    PM Management - Park Valley NC LLC                      18-33991          7186
78.    PM Management - Pflugerville AL LLC                     18-33993          4007
79.    PM Management - Portland AL LLC                         18-33994          5018
80.    PM Management - Portland NC LLC                         18-33995          4928
81.    PM Management - Round Rock AL LLC                       18-33997          5304
82.    PM Management - San Antonio NC LLC                      18-33998          1216
83.    Presidential SCC LLC                                    18-34000          1913
84.    Redoak SCC LLC                                          18-33976          7569

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#      Debtor Name                                               Case No.          EIN
85.    Riverside SCC LLC                                         18-34001          1889
86.    Round Rock SCC LLC                                        18-34002          8936
87.    Rowlett SCC LLC                                           18-34007          7606
88.    Ruston SCC LLC                                            18-34009          0242
89.    RW SCC LLC                                                18-34011          7631
90.    Sagebrook SCC LLC                                         18-34013          9571
91.    San Angelo SCC LLC                                        18-34015          4254
92.    SCC Edinburg LLC                                          18-34019          1195
93.    SCC Hospice Holdco LLC                                    18-34021          3166
94.    SCC Senior Care Investments LLC                           18-34023          4123
95.    SCC Socorro LLC                                           18-34024          5459
96.    Senior Care Center Management II LLC                      18-34026          1280
97.    Senior Care Center Management LLC                         18-34028          7811
98.    Senior Care Centers Home Health, LLC                      18-34030          1931
99.    Senior Care Centers LLC                                   18-33967          8550
100.   Senior Rehab Solutions LLC                                18-34031          4829
101.   Senior Rehab Solutions North Louisiana LLC                18-34033          1690
102.   Shreveport SCC LLC                                        18-34034          1659
103.   Solutions 2 Wellness LLC                                  18-34038          4065
104.   South Oaks SCC LLC                                        18-34039          8002
105.   Springlake ALF SCC LLC                                    18-34041          2436
106.   Springlake SCC LLC                                        18-34042          9102
107.   Stallings Court SCC LLC                                   18-33977          7393
108.   Stonebridge SCC LLC                                       18-34044          9234
109.   Stonegate SCC LLC                                         18-33978          3005
110.   Summer Regency SCC LLC                                    18-34047          7782
111.   TRISUN Healthcare LLC                                     18-34048          2497
112.   Valley Grande SCC LLC                                     18-34051          1341
113.   Vintage SCC LLC                                           18-34053          7710
114.   West Oaks SCC LLC                                         18-34055          9535
115.   Western Hills SCC LLC                                     18-34056          1922
116.   Weston Inn SCC LLC                                        18-34057          7871
117.   Westover Hills SCC LLC                                    18-34059          3303
118.   Whitesboro SCC LLC                                        18-34060          7745
119.   Windcrest SCC LLC                                         18-34061          9541
120.   Windmill SCC LLC                                          18-34062          8067
121.   Wurzbach SCC LLC                                          18-34063          9920




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                                      Exhibit B

                                Proposed Interim Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                      §
 In re:                                               §       Chapter 11
                                                      §
 Senior Care Centers, LLC, et al.,1                   §       Case No. 18-33967 (BJH)
                                                      §
                           Debtors.                   §       (Joint Administration Requested)
                                                      §

     INTERIM ORDER (I) AUTHORIZING CONTINUED USE OF EXISTING CASH
     MANAGEMENT SYSTEM, INCLUDING MAINTENANCE OF EXISTING BANK
       ACCOUNTS, CHECKS, AND BUSINESS FORMS, AND (II) AUTHORIZING
             CONTINUATION OF EXISTING DEPOSIT PRACTICES

          Upon the motion (the “Motion”)2 of the Debtors for entry of an (this “Order”) (i)

 authorizing, but not directing, the Debtors to continue to maintain and use their existing cash

 management system, including maintenance of existing bank accounts, checks, and business

 forms; (ii) granting the Debtors a waiver of certain bank account and related requirements of the

 U.S. Trustee to the extent that such requirements are inconsistent with the Debtors’ practices

 under their existing cash management system or other actions described in the Motion or this

 Interim Order; and (iii) authorizing, but not directing, the Debtors to continue to maintain and


 1
    A list of the Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
 identification number, is attached to the Motion as Exhibit A.
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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 use their existing deposit practices notwithstanding the provisions of Bankruptcy Code section

 345(b); the Court having reviewed the Motion and the First Day Declaration; and the Court

 having jurisdiction over this matter pursuant to 28 U.S.C. 157 and §§ 1334(b); and the Court

 having found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the

 Debtors consent to entry of a final order under Article III of the United States Constitution; and

 the Court having found that venue of this proceeding and the Motion in this district is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined that the relief

 requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

 other parties in interest; and it appearing that proper and adequate notice of the Motion has been

 given and that no other or further notice is necessary; and upon the record herein; and after due

 deliberation thereon; and good and sufficient cause appearing therefore, it is hereby

                ORDERED, ADJUDGED, AND DECREED THAT:

          1.    The Motion is GRANTED on an interim basis, as set forth herein.

          2.    The Debtors are authorized to continue to use their existing Cash Management

 System and shall maintain through the use of detailed records reflecting all transfers of funds

 under the terms and conditions provided for by the existing agreements with the institutions

 participating in the Cash Management System, except as modified by this Interim Order. In

 connection with the ongoing use of the Cash Management System, the Debtors shall continue to

 maintain records with respect to all transfers of cash so that all transactions may be readily

 ascertained, traced, and recorded properly. The Debtors must continue to maintain current

 records of all transfers of cash so that all transactions can be readily ascertained, traced, properly

 recorded, and distinguished between prepetition and postpetition transactions on intercompany

 accounts, and shall include a detailed accounting of such intercompany transactions in the

 Debtors’ monthly operating reports.

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          3.    The Debtors are authorized to (a) continue to use any and all of the Debtor Bank

 Accounts in existence as of the Petition Date, including, but not limited to, the Debtor Bank

 Accounts identified on Attachment 1 to the Motion, in the same manner and with the same

 account numbers, styles, and document forms as are currently employed; (b) deposit funds in and

 withdraw funds from the Debtor Bank Accounts in the ordinary course by all usual means,

 including checks, wire transfers, drafts, and electronic fund transfers or other items presented,

 issued, or drawn on the Debtor Bank Accounts; (c) pay ordinary course bank fees in connection

 with the Debtor Bank Accounts, including any fees arising prior to the Petition Date; (d) perform

 their obligations under the documents and agreements governing the Debtor Bank Accounts; and

 (e) for all purposes, treat the Debtor Bank Accounts as accounts of the Debtors in their capacity

 as debtors in possession.

          4.    In each instance where the Debtors hold Debtor Bank Accounts at banks that are

 party to a Uniform Depository Agreement with the U.S. Trustee, within fifteen (15) days of entry

 of this Interim Order, the Debtors shall (a) contact each bank, (b) provide the bank with the

 Debtors’ employer identification numbers, and (c) identify each of its bank accounts held at such

 banks as being held by a debtor in possession in a bankruptcy case. In each instance where the

 Debtors hold Debtor Bank Accounts at banks that are not a party to a Uniform Depository

 Agreement with the U.S. Trustee, the Debtors shall use their good faith efforts to cause the banks

 to execute a Uniform Depository Agreement in a form prescribed by the U.S. Trustee within

 forty-five (45) days of the date of this Interim Order. The U.S. Trustee’s rights to seek further

 relief from this Court on notice in the event that the aforementioned banks are unwilling to

 execute a Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully

 reserved.



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          5.    The Debtors are authorized to continue to use their existing checks,

 correspondence, and other business forms without alteration or change and without the

 designation “Debtor in Possession” or a bankruptcy case number imprinted upon them.

 Notwithstanding the foregoing, once the Debtors’ existing checks have been used, the Debtors

 shall, when reordering checks, require the designation “Debtor in Possession” and the

 corresponding bankruptcy case number on all checks; provided that, with respect to checks that

 the Debtors or their agents print themselves, the Debtors shall begin printing the “Debtor in

 Possession” legend on such items within ten (10) days of the date of entry of this Interim Order.

          6.    The Debtors are authorized to continue to utilize all third-party providers

 necessary for the administration of their Cash Management System, including their payroll

 processor, Automatic Data Processing, Inc. In addition, the Debtors are authorized, but not

 directed, to pay all prepetition or postpetition amounts due to such third-party providers.

          7.    Nunc pro tunc to the Petition Date, and subject to the terms of this Interim Order,

 all Banks at which the Debtor Bank Accounts are maintained are authorized and directed to

 continue to administer, service, and maintain the Debtor Bank Accounts as such accounts were

 administered, serviced, and maintained prepetition, without interruption and in the ordinary

 course (including making deductions for bank fees and expenses), and, when requested by the

 Debtors in their sole discretion, to honor any and all checks, drafts, wires, electronic fund

 transfers, or other items presented, issued, or drawn on the Debtor Bank Accounts on account of

 a claim against the Debtors arising on or after the Petition Date; provided, however, that unless

 otherwise ordered by the Court, no checks, drafts, electronic funds transfers (excluding any

 electronic funds transfer that the Banks are obligated to settle), or other items presented, issued,




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 or drawn on the Debtor Bank Accounts on account of a claim against the Debtors arising prior to

 the Petition Date shall be honored.

          8.    Each Bank shall implement reasonable handling procedures designed to effectuate

 the terms of this Interim Order. No Bank that implements such handling procedures and then

 honors a prepetition check or item drawn on any account that is the subject of this Interim Order

 (a) at the direction of the Debtors to honor such prepetition check or item, (b) in the good faith

 belief that the Court has authorized such prepetition check or item to be honored, or (c) as a

 result of a good faith error made despite implementation of such handling procedures, shall be

 deemed to be liable to the Debtors or their estates on account of such prepetition check or item

 being honored postpetition or otherwise in violation of this Interim Order.

          9.    The Debtors are authorized to implement such reasonable changes, consistent

 with this Interim Order, to the Cash Management System as the Debtors may deem necessary or

 appropriate (subject to the documents governing the CIBC credit facility), including, without

 limitation, closing any of the Debtor Bank Accounts or opening any additional bank accounts

 following the Petition Date (the “New Accounts”) wherever the Debtors deem that such

 accounts are needed or appropriate. Notwithstanding the foregoing, the Debtors shall open such

 New Account(s) at banks that have executed a Uniform Depository Agreement with the U.S.

 Trustee, or at such banks that are willing to immediately execute such an agreement, and any

 New Account that the Debtors open in the United States shall be (a) at one of the existing Banks

 or with a bank that is organized under the laws of the United States of America or any state

 therein, and that is insured by the FDIC and (b) designated a “Debtor in Possession” account by

 the relevant bank. The New Accounts are deemed to be Debtor Bank Accounts and are similarly

 subject to the rights, obligations, and relief granted in this Interim Order. The Banks are



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 authorized to honor the Debtors’ requests to open or close (as the case may be) such Debtor

 Bank Account(s) or New Account(s). In the event that the Debtors open or close any Debtor

 Bank Accounts(s) or New Account(s), such opening or closing shall be timely indicated on the

 Debtors’ monthly operating reports and notice of such opening or closing shall be provided to

 the U.S. Trustee and counsel to any official committee of unsecured creditors appointed in these

 Chapter 11 Cases within fifteen (15) days.

          10.      The Debtors are authorized to deposit funds in accordance with existing practices

 under the Cash Management System as in effect as of the Petition Date, subject to any

 reasonable changes, consistent with this Interim Order, to the Cash Management System that the

 Debtors may implement, and, to the extent such practices are inconsistent with the requirements

 of Bankruptcy Code section 345(b), such requirements are waived on an interim basis. The

 Debtors shall have sixty (60) days (or such additional time as the U.S. Trustee may agree to)

 from the Petition Date (the “Extension Period”) within which to either come into compliance

 with Bankruptcy Code section 345(b) or to make such other arrangements as agreed with the

 U.S. Trustee. Such extension is without prejudice to the Debtors’ rights to request a further

 extension of the Extension Period or a final waiver of the requirements under Bankruptcy Code

 section 345(b).

          11.      Despite the Debtors’ use of a consolidated Cash Management System, the Debtors

 shall calculate any quarterly fees due under 28 U.S.C. § 1930(a)(6).

          12.      Neither the provisions contained herein, nor any actions or payments made by the

 Debtors pursuant to this Interim Order, shall be deemed an admission as to the validity of the

 underlying obligation or a waiver of any rights the Debtors may have to dispute such obligation

 on any ground that applicable law permits.



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          13.   Notwithstanding any Bankruptcy Rule (including, but not limited to, Bankruptcy

 Rule 6004(h)) or Local Bankruptcy Rule that might otherwise delay the effectiveness of this

 Interim Order, the terms and conditions of this order shall be immediately effective and

 enforceable upon its entry.

          14.   This Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation and/or interpretation of this Interim Order. The final hearing (the

 “Final Hearing”) to consider the entry of a final order granting the relief requested in the

 Motion shall be held on _______, 2019, at __:__ _.m. Prevailing Central Time.

          15.   Any objection to the entry of a final order granting the relief requested in the

 Motion shall be filed with the Court and served on, no later than seven (7) days prior to the

 commencement of the final hearing: (a) Senior Care Centers, LLC, 600 N. Pearl Street, Suite

 1100, Dallas, Texas, 75201 (Attn: Kevin O’Halloran); (b) Polsinelli PC, 2950 N. Harwood, Suite

 2100, Dallas, Texas 75201 (Attn: Trey Monsour), and Polsinelli PC, 600 Third Avenue, 42nd

 Floor, New York, New York 10016 (Attn: Jeremy Johnson); (c) the Office of the United States

 for the Northern District of Texas, Earle Cabell Federal Building, 1100 Commerce Street, Room

 976, Dallas, TX 75242 (Attn: Meredyth Kippes); (d) counsel to CIBC Bank USA, 190 South

 LaSalle Street, Suite 3700, Chicago, Illinois 60603 (Attn: John Weiss); and (e) counsel to the

 official committee of unsecured creditors, if one is appointed.

          16.   Nothing in the Motion or this Interim Order, or the Debtors’ payment of any

 claims pursuant to this Interim Order, shall be deemed or construed as: (a) an admission as to the

 validity of any claim or lien against the Debtors or their estates; (b) a waiver of the Debtors’

 rights to dispute any claim or lien; (c) an approval or assumption of any agreement, contract, or

 lease pursuant to Bankruptcy Code section 365; (d) an admission of the priority status of any



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 claim, whether under Bankruptcy Code section 503(b)(9) or otherwise; or (e) a modification of

 the Debtors’ rights to seek relief under any section of the Bankruptcy Code on account of any

 amounts owed or paid to any third party.

          17.   The Debtors are hereby authorized to take such actions and to execute such

 documents as may be necessary to implement the relief granted by this Interim Order.

          18.   This Court shall retain jurisdiction over any and all matters arising from the

 interpretation, implementation, or enforcement of this Interim Order.



                                      ### End of Order ###




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                                      Exhibit C

                                 Proposed Final Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                      §
 In re:                                               §       Chapter 11
                                                      §
 Senior Care Centers, LLC, et al.,1                   §       Case No. 18-33967 (BJH)
                                                      §
                           Debtors.                   §       (Joint Administration Requested)
                                                      §

      FINAL ORDER (I) AUTHORIZING CONTINUED USE OF EXISTING CASH
     MANAGEMENT SYSTEM, INCLUDING MAINTENANCE OF EXISTING BANK
      ACCOUNTS, CHECKS, AND BUSINESS FORMS AND (II) AUTHORIZING
             CONTINUATION OF EXISTING DEPOSIT PRACTICES

          Upon the motion (the “Motion”)2 of the Debtors for entry of an (this “Order”) (i)

 authorizing, but not directing, the Debtors to continue to maintain and use their existing cash

 management system, including maintenance of existing bank accounts, checks, and business

 forms; (ii) granting the Debtors a waiver of certain bank account and related requirements of the

 U.S. Trustee to the extent that such requirements are inconsistent with the Debtors’ practices

 under their existing cash management system or other actions described in the Motion or this

 Interim Order; and (iii) authorizing, but not directing, the Debtors to continue to maintain and

 use their existing deposit practices notwithstanding the provisions of Bankruptcy Code section

 1
    A list of the Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
 identification number, is attached to the Motion as Exhibit A.
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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 345(b); the Court having reviewed the Motion, the First Day Declaration, and the Interim Order

 (I) Authorizing Continued Use of Existing Cash Management System, Including Maintenance of

 Existing Bank Accounts, Checks, and Business Forms, and (II) Authorizing Continuation of

 Existing Deposit Practices [Docket No. ____] (the “Interim Order”); and the Court having

 jurisdiction over this matter pursuant to 28 U.S.C. 157 and §§ 1334(b); and the Court having

 found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the

 Debtors consent to entry of a final order under Article III of the United States Constitution; and

 the Court having found that venue of this proceeding and the Motion in this district is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined that the relief

 requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

 other parties in interest; and it appearing that proper and adequate notice of the Motion has been

 given and that no other or further notice is necessary; and upon the record herein; and after due

 deliberation thereon; and good and sufficient cause appearing therefore, it is hereby

                ORDERED, ADJUDGED, AND DECREED THAT:

          1.    The Motion is GRANTED on a final basis, as set forth herein.

          2.    All objections to the entry of this Final Order, to the extent not withdrawn or

 settled, are overruled.

          3.    The Debtors are authorized to continue to use their existing Cash Management

 System and shall maintain through the use thereof detailed records reflecting all transfers of

 funds under the terms and conditions provided for by the existing agreements with the

 institutions participating in the Cash Management System, except as modified by this Final

 Order. In connection with the ongoing utilization of the Cash Management System, the Debtors

 shall continue to maintain records with respect to all transfers of cash so that all transactions may

 be readily ascertained, traced, and recorded properly. The Debtors must continue to maintain

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 current records with respect to all transfers of cash so that all transactions can be readily

 ascertained, traced, properly recorded, and distinguished between pre-petition and post-petition

 transactions on intercompany accounts, and shall include a detailed accounting of such

 intercompany transactions in the Debtors’ monthly operating reports.

          4.    The Debtors are authorized to (i) continue to use any and all of the Debtor Bank

 Accounts in existence as of the Petition Date, including, but not limited to, the Debtor Bank

 Accounts identified on Attachment 1 to the Motion, in the same manner and with the same

 account numbers, styles, and document forms as are currently employed; (ii) deposit funds in and

 withdraw funds from the Debtor Bank Accounts in the ordinary course by all usual means,

 including checks, wire transfers, drafts, and electronic fund transfers or other items presented,

 issued, or drawn on the Debtor Bank Accounts; (iii) pay ordinary course bank fees in connection

 with the Debtor Bank Accounts, including any fees arising prior to the Petition Date; (iv)

 perform their obligations under the documents and agreements governing the Debtor Bank

 Accounts; and (v) for all purposes, treat the Debtor Bank Accounts as accounts of the Debtors in

 their capacities as debtors in possession.

          5.    In each instance where the Debtors hold Debtor Bank Accounts at banks that are

 party to a Uniform Depository Agreement with the U.S. Trustee, within fifteen (15) days of entry

 of this Final Order the Debtors shall (a) contact each bank, (b) provide the bank with each of the

 Debtors’ employer identification numbers, and (c) identify each of its bank accounts held at such

 banks as being held by a debtor in possession in a bankruptcy case. In each instance where the

 Debtors hold Debtor Bank Accounts at banks that are not a party to a Uniform Depository

 Agreement with the U.S. Trustee, the Debtors shall use their good faith efforts to cause the banks

 to execute a Uniform Depository Agreement in a form prescribed by the U.S. Trustee within



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 forty-five (45) days of the date of this Final Order. The U.S. Trustee’s rights to seek further relief

 from this Court on notice in the event that the aforementioned banks are unwilling to execute a

 Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully reserved.

          6.    The Debtors are authorized to continue to use their existing checks,

 correspondence, and other business forms without alteration or change and without the

 designation “Debtor in Possession” or a bankruptcy case number imprinted upon them.

 Notwithstanding the foregoing, once the Debtors’ existing checks have been used, the Debtors

 shall, when reordering checks, require the designation “Debtor in Possession” and the

 corresponding bankruptcy case number on all checks; provided that, with respect to checks that

 the Debtors or their agents print themselves, the Debtors shall begin printing the “Debtor in

 Possession” legend on such items within ten (10) days of the date of entry of this Final Order.

          7.    The Debtors are authorized to continue to utilize all third-party providers

 necessary for the administration of their Cash Management System, including their payroll

 processor, Automatic Data Processing, Inc. In addition, the Debtors are authorized, but not

 directed, to pay all prepetition or postpetition amounts due to such third-party providers.

          8.    Nunc pro tunc to the Petition Date, and subject to the terms of this Final Order, all

 Banks at which the Debtor Bank Accounts are maintained are authorized and directed to

 continue to administer, service, and maintain the Debtor Bank Accounts as such accounts were

 administered, serviced, and maintained prepetition, without interruption and in the ordinary

 course (including making deductions for Bank Fees and Expenses), and, when requested by the

 Debtors in their sole discretion, to honor any and all checks, drafts, wires, electronic fund

 transfers, or other items presented, issued, or drawn on the Debtor Bank Accounts on account of

 a claim against the Debtors arising on or after the Petition Date; provided, however, that unless



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 otherwise ordered by the Court, no checks, drafts, electronic funds transfers (excluding any

 electronic funds transfer that the Banks are obligated to settle), or other items presented, issued,

 or drawn on the Debtor Bank Accounts on account of a claim against the Debtors arising prior to

 the Petition Date shall be honored.

          9.    Each Bank shall implement reasonable handling procedures designed to effectuate

 the terms of this Final Order. No Bank that implements such handling procedures and then

 honors a prepetition check or item drawn on any account that is the subject of this Final Order (a)

 at the direction of the Debtors to honor such prepetition check or item, (b) in the good faith belief

 that the Court has authorized such prepetition check or item to be honored, or (c) as a result of a

 good faith error made despite implementation of such handling procedures, shall be deemed to

 be liable to the Debtors or their estates on account of such prepetition check or item being

 honored postpetition or otherwise in violation of this Final Order.

          10.   The Debtors are authorized to implement such reasonable changes, consistent

 with this Final Order, to the Cash Management System as the Debtors may deem necessary or

 appropriate, including, without limitation, closing any of the Debtor Bank Accounts or opening

 any additional bank accounts following the Petition Date (the “New Accounts”) wherever the

 Debtors deem that such accounts are needed or appropriate. Notwithstanding the foregoing, the

 Debtors shall open such New Account(s) at banks that have executed a Uniform Depository

 Agreement with the U.S. Trustee, or at such banks that are willing to immediately execute such

 an agreement and any New Account that the Debtors open in the United States shall be (a) at one

 of the existing Banks or with a bank that is organized under the laws of the United States of

 America or any state therein, and that is insured by the FDIC and (b) designated a “Debtor in

 Possession” account by the relevant bank. The New Accounts are deemed to be Debtor Bank



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 Accounts and are similarly subject to the rights, obligations, and relief granted in this Final

 Order. The Banks are authorized to honor the Debtors’ requests to open or close (as the case may

 be) such Debtor Bank Account(s) or New Account(s). In the event that the Debtors open or close

 any Debtor Bank Accounts(s) or New Account(s), such opening or closing shall be timely

 indicated on the Debtors’ monthly operating reports and notice of such opening or closing shall

 be provided to the U.S. Trustee and counsel to any official committee of unsecured creditors

 appointed in these Chapter 11 Cases within fifteen (15) days.

          11.      The Debtors are authorized to deposit funds in accordance with existing practices

 under the Cash Management System as in effect as of the Petition Date, subject to any

 reasonable changes, consistent with this Final Order, to the Cash Management System that the

 Debtors may implement, and, to the extent such practices are inconsistent with the requirements

 of Bankruptcy Code section 345(b), such requirements are waived, on an interim basis. The

 Debtors shall have sixty (60) days (or such additional time as the U.S. Trustee may agree to)

 from the Petition Date (the “Extension Period”) within which to either come into compliance

 with Bankruptcy Code section 345(b) or to make such other arrangements as agreed with the

 U.S. Trustee. Such extension is without prejudice to the Debtors’ rights to request a further

 extension of the Extension Period or a final waiver of the requirements under Bankruptcy Code

 section 345(b).

          12.      Despite the Debtors’ use of a consolidated Cash Management System, the Debtors

 shall calculate any quarterly fees due under 28 U.S.C. § 1930(a)(6).

          13.      Nothing in the Motion or this Final Order, or the Debtors’ payment of any claims

 pursuant to this Final Order, shall be deemed or construed as: (a) an admission as to the validity

 of any claim or lien against the Debtors or their estates; (b) a waiver of the Debtors’ rights to



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 dispute any claim or lien; (c) an approval or assumption of any agreement, contract, or lease

 pursuant to Bankruptcy Code section 365; (d) an admission of the priority status of any claim,

 whether under Bankruptcy Code section 503(b)(9) or otherwise; or (e) a modification of the

 Debtors’ rights to seek relief under any section of the Bankruptcy Code on account of any

 amounts owed or paid to any third party.

          14.   Neither the provisions contained herein, nor any actions or payments made by the

 Debtors pursuant to this Final Order, shall be deemed an admission as to the validity of the

 underlying obligation or a waiver of any rights the Debtors may have to dispute such obligation

 on any ground that applicable law permits.

          15.   Notwithstanding any Bankruptcy Rule (including, but not limited to, Bankruptcy

 Rule 6004(h)) or Local Bankruptcy Rule of the Northern District of Texas that might otherwise

 delay the effectiveness of this Final Order, the terms and conditions of this Final Order shall be

 immediately effective and enforceable upon its entry.

          16.   The Debtors are hereby authorized to take such actions and to execute such

 documents as may be necessary to implement the relief granted by this Final Order.

          17.   This Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation and/or interpretation of this Final Order.



                                       ### End of Order ###




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